   Case 2:10-cr-00186-MHT-WC Document 1652 Filed 08/09/11 Page 1 of 1




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
MILTON E. McGREGOR                 )          (WO)

                                ORDER

    Because the issues presented by defendant Milton E.

McGregor in his objection to the magistrate judge’s order

and in his the appeal from that order, regarding the

subpoenaing of witnesses, are moot, it is ORDERED that

the objection (doc. no. 1287) is overruled and the appeal

(doc. no. 1287) is dismissed as moot.

    DONE, this the 9th day of August, 2011.



                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
